Case 6:20-bk-14685-MH         Doc 15 Filed 10/26/20 Entered 10/26/20 15:38:28               Desc
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 5   Chapter 7 Trustee

 6

 7
                                 UNITED STATES BANKRUPTCY COURT
 8
                                  CENTRAL DISTRICT OF CALIFORNIA
 9
                                           RIVERSIDE DIVISION
10

11
     In re                                              Case No. 6:20-bk-14685-MH
12
     MEZA, JEANNIE VALERIE                              Chapter 7
13
                                                        NOTIFICATION OF ASSET CASE
14                  Debtor.
                                                        [No Hearing Required]
15

16
             TO KATHLEEN J. CAMPBELL, CLERK OF THE UNITED STATES
17

18   BANKRUPTCY COURT:

19           Howard Grobstein, the duly appointed Chapter 7 Trustee in the above-captioned bankruptcy

20   case, after reviewing the case docket and file and determining that no claims bar date has been

21   fixed, hereby notifies the Clerk of the United States Bankruptcy Court that assets may be

22   administered in the above-captioned case and appropriate notice be given to creditors to file claims.

23
     Dated: October 26, 2020                        /s/ Howard Grobstein
24                                                  Howard Grobstein
                                                    Chapter 7 Trustee
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